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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                 EAST ST. LOUIS DIVISION

ROBERT HALL, #R00852,                         )
                                              )
                  Plaintiff,                  )
                                              )
          -vs-                                )      No. 18-cv-2009-SMY-RJD
                                              )
WILLIAM SPILLER, et al.                       )
                                              )
                  Defendants.                 )

                 DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
                              PLAINTIFF’S COMPLAINT

          NOW COME Defendants, KENT BOOKMAN, SHAUN GEE, JASON HART,

JACQUELINE LASHBROOK, NATHAN McCARTHY, and WILLIAM SPILLER, by and

through their attorney, KWAME RAOUL, Attorney General of the State of Illinois, answer and

assert the following affirmative defenses to Plaintiff’s Complaint (Doc. 1), stating as follows:




          RESPONSE: Defendants admit this court has jurisdiction over claim for damages

brought under 42 U.S.C §1983. Defendants deny jurisdiction as to request for injunctive

relief.




          RESPONSE: Defendants admit venue is proper.

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       RESPONSE: Admitted.




       RESPONSE: Defendant Spiller admits he was the Intelligence Unit Cooordinator

since 2015. Defendant Spiller admits he was a Correctional Seargent through August 2017,

then a Correctional Lieutenant. Defendant Spiller admits the Intelligence Unit’s

responsibility is to investigate Secuirty Threat Group activity at Menard. Defendants

Lashbrook, McCarthy, Gee, Bookman, and Hart lack knowledge or information sufficient

to form a belief as to the truth of the allegation.




       RESPONSE: Defendant Lashbrook admits she was Warden of Menard during

relevant times, that she finalizes disciplinary sanctions through her Assistant Wardens or

herself. Defendant Lashbrook denies she approves appeals stating that sanctions may be


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appealed through the gievance office of the facility that imposed them, or throughth e ARB

if the inmate is no longer housed at the same institution. Defendants Spiller, McCarthy, Gee,

Bookman, and Hart lack knowledge or information sufficient to form a belief as to the truth

of the allegation.




       RESPONSE: Defendant McCarthy admits the following allegations. Defendants

Lashbrook, Spiller, Gee, Bookman, and Hart lack knowledge or information sufficient to

form a belief as to the truth of the allegation.




       RESPONSE: Defendant Gee admits the following allegations. Defendants Lashbrook,

Spiller, McCarthy, Bookman, and Hart lack knowledge or information sufficient to form a

belief as to the truth of the allegation.




       RESPONSE: Defrendants Bookman and Hart admit the following allegations.

Defendants Lashbrook, Spiller, Gee, and McCarthy lack knowledge or information

sufficient to form a belief as to the truth of the allegation.


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       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants admit that at all times relevent to the allegations and events

in the complaint they acted under the color of law. Defendants deny the allegation that they

continue to act under the color of law.




       RESPONSE: Defendants admit.




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       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendant Spiller admits to coming to Plaintiff’s cell on April 24, 2017.

Defendant Spiller lacks knowledge or information sufficient to form a belief as to the truth

of the remaining allegation. Defendants Lashbrook, Gee, Bookman, Hart, and McCarthy

lack knowledge or information sufficient to form a belief as to the truth of the allegation.




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       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Spiller admits to questioning Plaintiff about a staff assault

but lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations. Defendants Lashbrook, Gee, Bookman, Hart, and McCarthy lack knowledge or

information sufficient to form a belief as to the truth of the allegation.




       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




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       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




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       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a


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belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendants admit that Plaintiff was taken to North II segregation unit

while under investigative status. . Defendants lack knowledge or information sufficient to

form a belief as to the truth of the remaining allegation.




       RESPONSE: Defendants admit that Plaintiff was taken to North II segregation unit


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while under investigative status from April 24, 2017 to May 10, 2017. Defendants lack

knowledge or information sufficient to form a belief as to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

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belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.


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       RESPONSE: Defendant Gee admits he issued a disciplinary report to Plaintiff on the

above date for the charge of 205: STG Activity. Defendants Lashbrook, Spiller, Bookman,

Hart and McCarthy lack knowledge or information sufficient to form a belief as to the truth

of the allegation.




       RESPONSE: Defendants Bookman and Hart deny the allegations. According to

Plaintiff’s grievance logs, Plaintiff’s Adjustment Committee hearing occurred on May 11,

2017. Defendants Lashbrook, Spiller, Gee, and McCarthy lack knowledge or information

sufficient to form a belief as to the truth of the allegation.




       RESPONSE: Defendants Bookman and Hart deny the allegations. According to

Plaintiff’s grievance logs, Plaintiff had no statement at the Adjustment Committee hearing

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on May 11, 2017. Defendants Lashbrook, Spiller, Gee, and McCarthy lack knowledge or

information sufficient to form a belief as to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendant Bookman denies the allegations in paragraph 24. Defendants

Lashbrook, Spiller, Gee, and McCarthy lack knowledge or information sufficient to form a

belief as to the truth of the allegation.




       RESPONSE: Defendant Spiller admits Plaintiff was served with a disciplinary report

charging 111 STG Leadership. Defendant Gee admits Plaintiff was issued a disciplinary

report for 205: STG for gang materials found in his cell. Defendants Lashbrook, Bookman,

Hart, and McCarthy lack knowledge or information sufficient to form a belief as to the truth

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of the allegation.




       RESPONSE: Defendant Spiller admits that Plaintiff was moved to C-Wing

segregation during the investigation. Defendant Spiller denies stating that an inmate does

not need a hearing to be placed in C-Wing. Defendant Spiller denies that Plaintiff was in

administrative detention at this time. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Bookman lacks knowledge or information sufficient to form

a belief as to the truth of the allegation. Defendants Lashbrook, Gee, Spiller, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




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       RESPONSE: Defendant Hart lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants admit that Plaintiff was disciplined by the

Adjustment Committee with the above mentioned discipline for both charges combined.




       RESPONSE: Defendant Lashbrook admits that she approves the sanctions.

Defendant Lashbrook disputes that if Plaintiff wishes to appeal the sanctions imposed, he

may do so through the facility’s grievance office or appeal to the ARB. Defendants Bookman,

Gee, Spiller, Hart, and McCarthy lack knowledge or information sufficient to form a belief

as to the truth of the allegation.




       RESPONSE: Defendant Lashbrook lacks knowledge or information sufficient to

form a belief as to the truth of the allegation. Defendants Bookman, Gee, Spiller, Hart, and

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McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Lashbrook lacks knowledge or information sufficient to

form a belief as to the truth of the allegation. Defendants Bookman, Gee, Spiller, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Lashbrook lacks knowledge or information sufficient to

form a belief as to the truth of the allegation. Defendants Bookman, Gee, Spiller, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




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       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




       RESPONSE: Defendant Spiller lacks knowledge or information sufficient to form a

belief as to the truth of the allegation. Defendants Lashbrook, Gee, Bookman, Hart, and

McCarthy lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




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       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants deny the allegation that Plaintiff was labeled a snitch.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegation.




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       RESPONSE: Defendants lack knowledge or information sufficient to form a belief

as to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as
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to the truth of the allegation.




       RESPONSE: Defendants Spiller and McCarthy lack knowledge or information

sufficient to form a belief as to the truth of the allegation. Defendants Lashbrook, Gee,

Bookman, and Hart lack knowledge or information sufficient to form a belief as to the truth

of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

       to the truth of the allegation.




       RESPONSE: Defendant Spiller admits that both inmates were transferred to Pontiac.

Defendant Spiller denies the allegation that he spread a rumor of Plaintiff informing on the

prisoner. Defendants Lashbrook, Gee, Bookman, Hart and McCarthy lack knowledge or

information sufficient to form a belief as to the truth of the allegation.

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       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendant Spiller denies the allegation that he lied about Plaintiff to

prisoner. Defendants Lashbrook, Gee, Hart, Bookman, and McCarthy lack knowledge or

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information sufficient to form a belief as to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.


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       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

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to the truth of the allegation.




       RESPONSE: Defendants deny violating Plaintiff’s First Amendment right.




       RESPONSE: Defendants Spiller and Gee deny the allegations in this paragraph.

Defendants Spiller and Gee deny violating Plaintiff’s First Amendment rights. Defendants

Lashbrook, Bookman, Hart and McCarthy lack knowledge or information sufficient to form

a belief as to the truth of the allegation.




       RESPONSE: Defendant Spiller denies labeling Plaintiff a snitch and further denies

violating Plaintiff’s First Amendment rights whatsoever. Defendants Lashbrook, Gee,

Bookman, Hart and McCarthy lack knowledge or information sufficient to form a belief as

to the truth of the allegation.

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       RESPONSE: Defendants Bookman and Hart deny colluding with Defendants Spiller

and Gee and further deny violating Plaintiff’s rights whatsoever. Defendants Lashbrook,

Gee, Spiller, and McCarthy lack knowledge or information sufficient to form a belief as to

the truth of the allegation.




       RESPONSE: Defendant Lashbrook denies colluding with defendants and further

denies violating Plaintiff’s First Amendment rights whatsoever. Defendant Lashbrook denies

the allegations in this paragraph. Defendants Gee, Spiller, Bookman, Hart, and McCarthy

lack knowledge or information sufficient to form a belief as to the truth of the allegation.




       RESPONSE: Defendant Spiller denies the allegations in this paragraph. Defendants

Lashbrook, Gee, Bookman, Hart and McCarthy lack knowledge or information sufficient to
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form a belief as to the truth of the allegation.




       RESPONSE: Defendants Bookman and Hart deny the allegations in this paragraph

and further deny violating Plaintiff’s constitutional rights whatsoever. Defendants

Lashbrook, Gee, Spiller, and McCarthy lack knowledge or information sufficient to form a

belief as to the truth of the allegation.




       RESPONSE: Defendants Lashbrook and McCarthy deny the allegations in this

paragraph and further deny violating Plaintiff’s constitutional rights whatsoever.

Defendants Bookman, Gee, Spiller, and Hart lack knowledge or information sufficient to

form a belief as to the truth of the allegation.




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       RESPONSE: Defendants Lashbrook denies the allegations in this paragraph and

further deny violating Plaintiff’s constitutional rights whatsoever. Defendants Bookman,

Gee, McCarthy, Spiller, and Hart lack knowledge or information sufficient to form a belief

as to the truth of the allegation.




       RESPONSE: Defendant Spiller denies the allegations in this paragraph and further

deny violating Plaintiff’s constitutional rights whatsoever. Defendants Lashbrook, Gee,

Bookman, McCarthy, and Hart lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




       RESPONSE: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation.




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                                     PRAYER FOR RELIEF




       RESPONSE: Defendants deny that Plaintiff is entitled to any relief whatsoever.

                                         JURY DEMAND

       Defendants request a jury for all triable claims.

                                  AFFIRMATIVE DEFENSES

       1.      Exhaustion of Administrative Remedies

       Plaintiff has filed suit concerning medical treatment while in custody of the Illinois

Department of Corrections and therefore must exhaust all administrative remedies prior to filing

suit. Plaintiff has failed to exhaust his administrative remedies as is required prior to filing a suit

under 42 U.S.C. §1983.

       2.      Eleventh Amendment Immunity

       The Eleventh Amendment bars injunctive relief against the State or State employees acting

in their official capacities without a first showing on ongoing constitutional deprivation. Because

Plaintiff does not suffer from any ongoing constitutional deprivation, his request for injunctive

relief is barred by the Eleventh Amendment. To the extent that the Plaintiff seeks injunctive relief,

such relief is limited by the Eleventh Amendment of the United States Constitution.

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         3.     Prison Litigation Reform Act

         The Prison Litigation Reform Act limits the scope of any injunctive relief entered into a

prisoner civil rights case. 18 U.S.C. §3626. Because injunctive relief sought by Plaintiff is not

narrowly tailored to correct the violation of a federal right, such request is barred by the Prion

Litigation Reform Act.

         4.     Qualified Immunity

         At all times relevant to Plaintiff’s claims, Defendant acted in the good faith performance

of her official duties without violating Plaintiff’s clearly established constitutional rights.

Defendant is, therefore, protected from liability by the doctrine of qualified immunity.

         WHEREFORE, for the above and foregoing reasons, Defendants respectfully requests this

Honorable Court deny Plaintiff any relief in this matter whatsoever and enter judgment in in their

favor.

                                                     Respectfully submitted,

                                                     KENT BOOKMAN, SHAUN GEE, JASON
                                                     HART, JACQUELINE LASHBROOK,
                                                     NATHAN McCARTHY, and WILLIAM
                                                     SPILLER,

                                                     Defendants,

                                                     KWAME         RAOUL,       Illinois   Attorney
                                                     General,
Hinal A. Patel, #6330260
Assistant Attorney General                           Attorney for Defendants,
500 South Second Street
Springfield, Illinois. 62701
(217) 782-5819 Phone                             By: s/Hinal A. Patel
(217) 782-8767 Fax                                     Hinal A. Patel
hpatel@atg.state.il.us                                 Assistant Attorney General




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION


ROBERT HALL, #R00852,                        )
                                             )
               Plaintiff,                    )
                                             )
       -vs-                                  )      No. 18-cv-2009-SMY-RJD
                                             )
WILLIAM SPILLER, et al.                      )
                                             )
               Defendants.                   )

                                CERTIFICATE OF SERVICE

        I hereby certify that on February 7, 2019, the foregoing document, Answer and Affirmative
Defenses, was electronically filed with the Clerk of the Court using the CM/ECF system which
will electronically send notice to:

                                             NONE

and I hereby certify that on the same date, I caused a copy of the foregoing described document to
be mailed by United States Postal Service, in an envelope properly addressed and fully prepaid, to
the following non-registered participant:

                                    Robert Hall, #R00852
                                     Inmate Mail/Parcels
                                  Pontiac Correctional Center
                                          PO Box 99
                                      Pontiac, IL. 61764


                                                    Respectfully submitted,

                                                     s/Hinal A. Patel
                                                    Hinal A. Patel
                                                    Assistant Attorney General
                                                    500 South Second Street
                                                    Springfield, Illinois 62701
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